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                            UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                  GREENSBORO DIVISION

      In Re:                                         )
                                                     )
      Avery Bradley Green,                           )
                                                                  Case No. B-17-11043 C-7G
                                                     )
                      Debtor.                        )
                                                     )

                                          REPORT OF SALE

       Everett B. Saslow, Jr., Trustee in this case, reports to the Court as follows:

         1.      A Motion to Sell Evergreen Real Property at Private Sale and to Transfer Liens and
Interests to Proceeds of Sale and to Pay Real Estate Broker and Certain Liens and Costs (20513 US Hwy
301, St. Pauls, NC) (Doc 103) was filed with the Court on April 20, 2018. The Court entered the Order
granting the motion (Doc 126) on July 2, 2018.

       2.      Closing was delayed because of buyer’s travel, hurricanes, and flooding. Pursuant to the
Motion and the Order referenced in the preceding paragraph, the private sale was closed on October 5,
2018.

        3.      The gross receipts from the sale were $275,000.00. The Trustee received a proceeds
check for $58,248.86.

         4.      The closing agent for the sale was attorney George D. Regan. The closing attorney
disbursed from sales proceeds at closing a realtors commission in the amount of $19,250.00, ad valorem
taxes in the sum of $27,108.38, a release fee to Palm Avenue Hialeah Trust in the amount of $166,727.65,
two checks payable to creditors of the Estate of Zeddie Green in the sum of $3,115.11, and excise taxes
(tax stamps) of $550.00.

       This the 24th day of October, 2018.

                                                            s/ Everett B. Saslow, Jr.
                                                            Everett B. Saslow, Jr., Trustee
                                                            N.C. State Bar No. 7301

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